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To: | if jh. Veo. USDI
US District Court for DC to/ 3)

Clerk of Court/Judge Moss
320 First St., NW

Washington DC-2050 22-cr-00070-RDM-1

Date:
September 13th, 2024

Dear Judge Moss, Xgubjet tr Uwe oy * é

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Today I respectfully request that you review Lucas Denney, #78422-509 for release to the tet
House or Home Confinement immediately. He is within 12 months of his release date already,
which is beyond the BOP regulation. Currently, he is incarcerated at FCI Florence, Colorado.

At the present time, the designated Halfway House is in Lubbock, Texas (West Texas), and his RRM is in
Dallas, however, this is nearly 5 hours from his probation release/home address in Mullins, Texas. The
designated probation office and officer have already surveyed the home and area for acceptability (Feb.
2024).

Additionally, today we found out that his father is terminal, and this is the location where he will serve his
probation. He was the primary caregiver for his father prior to his incarceration, and now must return to
care for his end of life treatment.

We respectfully request that his Halfway House/Home Confinement assignment be changed to either
of the below listed areas in East Texas as soon as possible:

1) Fort Worth, Texas

2) Dallas, Texas

3) Hutchins, Texas (near Seagoville, where he was supposed to be incarcerated per the J &
C at sentencing per the judge)

3) Tyler, Texas

All are closer to his home confinement address and where he will serve his probationary sentence. I am
his Legal Assistant, and due to the many unscheduled lockdowns, our communication is so far delayed
that any correspondence in an emergency is nearly impossible.

We respectfully ask that you consider this one last humanitarian act for another human being and his
family in time of need and compassion, as they transition through the end of life process with his father.

I thon. be oe at the following (Eastern Standard Time):

Karen D. Karen de
Legal Assistant
3243 Blundell Road | eens a
Falls Church, Va. 22042
571-425-1840
karen.d.saffron@gmail.com |
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Karen D, Sa Pron to oenerak., ‘crecte | Sign :

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\ Lucas Denney.

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Date: Wednesday February 14, 2024
To: Whom It May Concern

From: Karen D. Saffron

I just wanted to let you know that Lucas Denney sent the enclosed hand-written paper
authorization to me on 2/13/24. This should be filed with any of his files.

Please let me know when any of his cases are filed or updated, so that I can follow his
docket and keep him informed in a timely manner.

Best regards,

Karen D. Saffron

Legal Assistant

3243 Blundell Road

Falls Church, Va. 22042
571-425-1840
karen.d.saffron@gmail.com

